     Case 8:21-cv-01628-DOC-JDE Document 110 Filed 02/10/22 Page 1 of 2 Page ID #:684

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                          for the



                                                            )
                                                            )
                                                            )
Peter Moses Gutierrez, Jr., et al.                          )
                            Plaintiff(s)
                                                            )
                                                            )
                                 v.                                 Civil Action No. 8:21-cv-01628-DOC-JDE
                                                            )
                                                            )
                                                            )
                                                            )
Amplify Energy Corporation, et al.                          )
                           Defendant(s)                     )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    Capetanissa Maritime Corporation of Liberia
    80 Broad St, Monrovia
    Liberia



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
 Wylie A. Aitken (SBN 37770)               Lexi J. Hazam (SBN 224457)              Stephen G. Larson (SBN 145225)
 wylie@aitkenlaw.com                       lhazam@lchb.com                         slarson@larsonllp.com
 AITKEN‫ى‬AITKEN‫ى‬COHN                        LIEFF   CABRASER       HEIMANN          LARSON LLP
 3 MacArthur Place, Suite 800              &   BERNSTEIN,     LLP                  600 Anton Blvd., Suite 1270
 Santa Ana, CA 92808                       275 Battery Street, 29th Floor          Costa Mesa, CA 92626
                                           San Francisco, CA 94111-3339            Telephone: (949) 516-7250
 Telephone: (714) 434-1424
                                           Telephone: (415) 956-1000               Facsimile: (949) 516-7251
 Facsimile: (714) 434-3600                 Facsimile: (415) 956-100
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                      CLERK OF COURT
                                                                                   T


Date: February 10, 2022
                                                                                  SSignature
                                                                                   Si
                                                                                    ignnnature of Clerkk or Deputy Clerk



                                                                                                            American LegalNet, Inc.
                                                                                                            www.FormsWorkFlow.com
     Case 8:21-cv-01628-DOC-JDE Document 110 Filed 02/10/22 Page 2 of 2 Page ID #:685

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)

              I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                       , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

              I returned the summons unexecuted because                                                                                ; or

              Other (specify):




          My fees are $                           for travel and $                   for services, for a total of $ 0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc:




                                                                                                                  American LegalNet, Inc.
                                                                                                                  www.FormsWorkFlow.com
